Oo aT DB OO F&F WD NY FF

oO

10
11
iZ
13
14
15
16
17
18
19
20
21
22
23
24
25

Case 1:13-cv-08281-JCF Document 65-2 Filed 09/11/15 Page 1 of 4

174
D. DIAZ
A. It was mentioned. How it was
mentioned, I don't know. I can't pinpoint

it right now. But I don't know if he said
her name or if he mentioned it to me
because I told him if you want to search my
house you can search it. I'm not hiding
anything.

I don't know what is going on.
But if it is in reference to George, I give
you permission to go and search Gabriella's

room because that is where George stood at.

Q. Where George did what?

A. Where George sleep at was
Gabriella's room. I gave him permission.
He was like no, I need a warrant. No, no,

he gave me Patricia O'Connor's name or if
my lawyer told me, but at that moment, yes,
I knew that he was talking to her because I
had to pass the information over to Mr.
Quinn who was my attorney and I was on the
phone with him.

The minute I found out that
they wanted to get a warrant I called the

borough. I used to work at a Patrol

DIAMOND REPORTING (718) 624-7200 info@diamondreporting.com

174
me Ww NO FF

oO wT HD WO

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25

Case 1:13-cv-08281-JCF Document 65-2 Filed 09/11/15 Page 2 of 4

175

D. DIAZ
Borough Bronx and have the duty captain
respond.

That is where evidence
collection turned out of. I didn't know
what was going on and they weren't
divulging anything.

Q. So, at this point you know from
Wigdor that George is suspected of being
involved in the theft of a large sum of
money and that the DA's office intends to

get a warrant to search your home, correct?

A. Yes.

Q. At that point you called the
bureau?

A. Correct.

Q. Is that different from the 43rd
Precinct?

A. Yes. The patrol bureau is the
central of the Bronx. So it wouldn't be

the 43rd who is going to respond. Whoever
is the duty captain, that is the person who
is going to respond.

Q. When you call the bureau, who

did you speak to?

DIAMOND REPORTING (718) 624-7200 info@diamondreporting.com

175
Oo wa BD OO FSF WD NO FH

LO

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25

Case 1:13-cv-08281-JCF Document 65-2 Filed 09/11/15 Page 3 of 4

176
D. DIAZ

A. Laura Perez.

Q. What is her position at the
time?

A. She is still there. She is a
P.O. and she does intake at the bureau.

Q. What did you tell her?

A. I told her that my children's

father was just arrested. I exactly don't
know for what and that a search warrant,
they wanted to conduct one in my house. I
told her at first there was a search

warrant, I need the duty captain's number.

Q. What did she say?

A. She gave me the duty captain's
number.

Q. Who was the duty captain?

A. I don't recall his name then,

but I had it written down his number and I
called him from my cell phone and he didn't
pick up.

Q. The number that Officer Perez
gave you, was that his cell phone number or
his work number?

A. It's the department's cell

DIAMOND REPORTING (718) 624-7200 info@diamondreporting.com

176
WD DMO FF

oO way HD OO fF

10
11
eZ
13
14
15
16
17
18
19
20
21
22
23
24
25

Case 1:13-cv-08281-JCF Document 65-2 Filed 09/11/15 Page 4 of 4

ay
D. DIAZ
phone. The NYPD issues cell phones to
captains.

Q. Did you write that number down
anywhere?

A. I wrote the number down and
then I recorded the number.

Q. Where did you write the number
down?

A. I can't tell you. I was
frantic. Right about now my world got
turned upside down.

Q. Going back just briefly to the

actual arrest of Mr. Castro itself, did you
see him being placed in a car?

A. He was placed in the back of
the jeep. It didn't have tint. Right
after that Wigdor and I walked into the
house because I didn't know whether he was
Just going to sit here, whether he was
going to be transported.

Sometimes when you are out in
the street and you have somebody that is
combative, that is a way to calm them down.

I don't know what was going on.

DIAMOND REPORTING (718) 624-7200 info@diamondreporting.com

177
